Dear Secretary Carnahan:
This opinion letter responds to your request dated February 16, 2011, for our review under § 116.334, RSMo, of a revised proposed summary statement prepared for the petition submitted by Marc Ellinger regarding a proposed constitutional amendment to amend Article X of the Missouri Constitution (version la). The proposed summary statement is as follows:
Shall the Missouri Constitution be amended to:
  • eliminate income, earnings, and state sales and use taxes, including taxes paid by corporations and individuals, with certain exceptions;
  • require the legislature to impose an expanded state sales tax to include all sales and services to individuals, and allow the legislature to increase this tax up to 7%, with certain exceptions;
  • require that low income individuals be given tax rebates or credits for certain purchases; and
  • prohibit the legislature from creating, or businesses and individuals from using, certain tax credits? *Page 2 
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                                         Very truly yours,
                                                         _________________ CHRIS KOSTER Attorney General *Page 1 